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D’LJ ANE MORRIS LLP '

By: Sheila Raftery Wiggins

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(973) 556-1486 (fax)
srwiggins@duanemorris.com

Attorneys for Defendant

Cellco Partnership d/b/a Verizon Wireless
(improperly named as Verizon Wireless)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

CHEIKHOU SOW, Civil Action No.:
Plaintiff,
V- NoTICE oF REMOVAL
VERIZON WIRELESS,
Defendant.

 

 

TO: THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

PLEASE TAKE NOTICE that, in accordance With 28 U.S.C. §§ 1331, 1441 and 1446,
and all other applicable laW, defendant Cellco Partnership d/b/a Verizon Wireless (improperly
` named as Verizon Wireless) (“Verizon Wireless”) through its attorneys, Duane Morris LLP,
hereby gives notice of the removal of this action, Index No. 12103344, pending in the Supreme
` Court of the State of NeW York, New York County. In support of removal, Verizon Wireless
states as folloWs:

1. On or about July 23, 2012, Plaintiff Cheikhou SoW (“Plaintifi”) commenced a

civil action by filing a Complaint (the “Complaint”) in the Supreme Court of the State of NeW

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York, New York County, Index No. 12103344, entitled Cheikhou Sow v. Verz'zon Wireless.
Attached hereto as Exhibit “1” is a true and correct copy of Plaintiff’ s Summons and Complaint.

2. Plaintiff sent via U.S. mail a copy of the Summons and Complaint to Verizon
Wireless, and the envelope is postmarked With a date of July 26, 2012. Verizon Wireless
received copies of the Summons and Complaint by U.S. mail on July 31, 2012.

3. This Notice of Removal is timely pursuant to 28 U.S.C. § l446(b) because it has
been filed Within thirty (3 0) days of Verizon Wireless’ receipt of the Summons and Complaint.

4. Plaintiff’s Complaint demands against Verizon Wireless a judgment in the
amount of $100,000.00.

5. The Supreme Court of the State of NeW York, NeW York County, is located in the
Southern District of NeW York.

6. As required by 28 U.S.C. § 1446(a), a copy of all process and pleadings served
' upon Verizon Wireless are provided With these papers.

FEDERAL OUESTION JURISDICTION

7. Removal of this action to this Court is appropriate because this Court has original
jurisdiction over the action pursuant to 28 U.S.C. § 1331.

8. In the Complaint at Paragraph 11, Plaintiff alleged, inter alia, that Verizon
Wireless placed an invalid debt on Plaintift’ s credit report. Thus, viewing the Complaint in a
light most favorable to Plaintiff, the Complaint alleges damage to his credit history, Which
concerns an alleged violation of a federal statute, the Fair Credit Reporting Act, 15 U.S.C.

§ 1681, er seq. (“FCRA”).

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9. ' Therefore, this Court has jurisdiction pursuant to 28 U.S.C. § 1331 because at
least one of Plaintiff’ s claims arises “under the Constitution, laws, or treaties of the United
States.”

REMOVAL

lO. This action is one over which the Court has original jurisdiction pursuant to 28
U.S.C. § 1331. Therefore, Verizon Wireless may remove this action to this Court pursuant to 28
U.S.C. § 1441 (b) which provides that “[a]ny civil action of which the district courts have original
jurisdiction founded on a claim or right arising under then Constitution, treaties or laws of the
United States shall be removable without regards to the citizenship or residence of the parties.”
28 U.S.C. § 1441(b).

ll. Pursuant to 28 U.S.C. § 1367(a), insofar as the Complaint may contain any non-
. federal claims, such.claims may also be removed to this Court because they “are so related to
claims in the action within such original jurisdiction that they form part of the same case or
controversy under Article IlI of the United States Constitution.” Accordingly, this Court may
determine all claims in the Complaint.

12. The Summons and Complaint were originally filed in the Supreme Court of the
State of New York, New York County. Venue properly lies with this Court pursuant to 28
U.S.C. §§ 1441(a) and 1446(b) because the Supreme Court of the State of New York, New York
County, is located within the Southern District of New Yorl<.v

13. This Notice of Removal is filed in the United States District Court for the
Southern District of New York within the time allowed by law for removal of civil actions, that
is, within thirty days after Verizon Wireless was served with, or otherwise received, the

Summons and Complaint.

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14. _ The filing of this Notice of Removal and the removal of this action to this Court
does not constitute a waiver of any of Verizon Wireless’ rights or available defenses, and
Verizon Wireless expressly reserves the right to assert all such defenses at a later time.

15. In compliance with 28 U.S.C. § 1446(d), a copy of this Notice of Removal is
being filed with the Supreme Court of the State of New York, New York County, and is being
served on Plaintiff.

16. As set forth herein, this Court has jurisdiction over this action pursuant to 28
U.S.C. § 1331. This action is properly removed pursuant to 28 U.S.C. §§ 1441 and 1446.

CONCLUSION

WHEREFORE, defendant Cellco Partnership d/b/a Verizon Wireless (improperly named
as Verizon Wireless) respectfully requests that this Notice of Removal be filed and, accordingly,
that this action, IndeX No. 12103344, currently pending in the Supreme Court of the State of
New York, New York County, be removed to and proceed in this Court.

Dated: August 29, 2012

    

 

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1540 B oadway

New Yor , Y

(973) 424-2055 (tel)

(973) 556-1486 (fax)

Attorneysfor Defena'am‘

Cellco Partnership d/b/a/ Verizon Wireless
(improperly named as Verizon Wireless)

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EXHIBIT

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.[P`rin_t in b___/ack ink all areas in bold letters. Both pages mustbe completed. This summons
- cannotbe used for divorce actions ]

SUPREME COURT OF THE -STATE OF NEW YORK
COUNTY OF `NEW YORKl `

 

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To the Person(s) Named as Defendant( (s) above:

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_E’l._.EASE TAKE NOTICE THAT YOU ARE HEREBY SUl\/ll\/lOl\FtEB to appear in this action§
by serving a notice of appearance on the plaintiff(s) at the address set forth beloW, and to do so
within 20 days after the service of this Summons (not counting the day of service itself), or Within
30 days after service is complete if the summons is not delivered personally to -you within the State
of NeW Yorl<. » § \‘_,F `

You ARE HE§{£BY NonFlEo THAT Should you 131110 answer or appear, a judgment W111
be entered against you by default»tor the relief demanded beloW.

 

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[date ofsummons] ` [Slgn your name($)]

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§ [your address(es), telephone number(s)]
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[address(es) of party being sued]

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_Notice: The nature of this action is [briefly describe the nature of your case against the
defendant(s), such as, breach of contract, negligence]:

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The relief sought is [briefly describe the kind of relief you are asking for, such as,

money damages of $25 ,OOO]

 

 

 

 

 

 

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check box that applies]:

Mntift(s) residence in New York County § `J .'.

o Deiendant(s) residence in New York County l

m Other [See CPLR Articie 5]:

 

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Plaintiff,
-Against- COMPLAINT
\] § (‘*\;1@§ \\;\l §§ §”1£;35
Defendanl,

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TO THE SUPREME COURT Of` THE STATE OF NEW YORK

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, respectfully
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Plaintiff _
_ vERIFICATIoN '
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, being duly sworn, deposes and says:

I am the plaintiff in the above-entitled action. Ihave a read the foregoing complaint and
know the contents thereof The same are true to my knowledge7 except as to matters therein
stated to be alleged on the information and belief and as to those matters I believe them to be

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Print Name

Sworn to before me this

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Notary PuNie _ NQ. 0250¢25¢329

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My Comm\ss\on E`xpl¢es § *>fg;_\:`\`é>j~‘¢ \&\

